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                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



In Re: SERESTO FLEA AND TICK                         MDL. NO. 3009
COLLAR MARKETING, SALES
PRACTICES AND PRODUCTS
LIABILITY LITIGATION



 DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
 TO PLAINTIFF LAURA REVOLINKSY’S MOTION FOR TRANSFER OF ACTIONS
      TO THE DISTRICT OF NEW JERSEY PURSUANT TO 28 U.S.C. § 1407
     FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

       Pursuant to Rule 6.3 of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, Defendants Bayer Corporation, Bayer HealthCare LLC, Bayer HealthCare

Animal Health Inc., Bayer U.S. LLC, Elanco Animal Health Inc., and Elanco U.S. Inc.

(collectively, “Defendants”) hereby request an additional 14 days, up to and including June 3,

2021, to file their response to Plaintiff Laura Revolinsky’s Motion for Transfer of Actions to the

District of New Jersey Pursuant to 28 U.S.C. § 1407, for Coordinated or Consolidated Pretrial

Proceedings. (Dkt. No. 1 (the “Motion to Transfer”).) In support of this unopposed motion,

Defendants state as follows:

       1.      On April 27, 2021, Plaintiff Laura Revolinsky (“Plaintiff Revolinsky”) moved this

Panel for an Order pursuant to 28 U.S.C. § 1407 transferring twelve actions (collectively, the

“Subject Actions”), filed in seven different District Courts, to the District of New Jersey for

coordinated or consolidated pretrial proceedings. (See Dkt. No. 1-2.)

       2.      Defendants’ response to this Motion to Transfer is currently due on or before May

20, 2021. (See Dkt. No. 5.)
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       3.      Pursuant to Rule 6.1(e) of the Panel’s Rules of Procedure, the Clerk of the Panel

has the discretion to enlarge the time periods set forth in the Schedule by the Panel, and the Parties

may in turn seek extensions of time under Rule 6.3.

       4.      Plaintiff Revolinsky does not oppose this motion for extension of time. (See

Declaration of Tarek Ismail (“Ismail Decl.”) ¶ 7.) The Plaintiffs in all other Subject Actions also

do not oppose this motion for extension of time. (See id.)

       5.      The Panel has directed the parties to “address [in their briefs] what steps they have

taken to pursue alternatives to centralization (including, but not limited to, engaging in informal

coordination of discovery and scheduling, and seeking Section 1404 transfer of one or more of the

subject cases).” (Dkt. No. 5.) See also In re Emergency Helicopter Air Ambulance Rate Litig., 273

F. Supp. 3d 1365, 1367 (J.P.M.L. 2017) (considering the availability of alternatives to

centralization in ruling on motion to transfer). Defendants are currently discussing alternatives to

centralization, including various forms of informal coordination, with multiple plaintiffs in the

Subject Actions. (See Ismail Decl. ¶ 8.) The requested 14-day extension will allow the parties to

fully explore and discuss these alternatives, and in turn more fully address such alternatives in

briefing on the Motion to Transfer.

       6.      Defendants have also not yet been served with process in several of the Subject

Actions, including the action brought by Plaintiff Revolinsky. (See Ismail Decl. ¶¶ 2–5.) The 14-

day extension will ensure that Defendants have communicated and discussed possibilities for

informal coordination with representatives of all Plaintiffs in all Subject Actions.

       7.      The parties will not be prejudiced by the requested 14-day extension. The Motion

to Transfer is not currently scheduled to be heard at the next Panel hearing session on May 27,

2021, and, as shown in the proposed schedule below, the requested extension will allow briefing




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to conclude well in advance of the following Panel hearing session, which has not yet been

scheduled.

             Briefing                   Current Deadline                Proposed Amended
                                                                            Deadline

 Response Brief(s)                        May 20, 2021                      June 3, 2021

 Plaintiff Revolinsky’s Reply             May 27, 2021                     June 10, 2021


       For the foregoing reasons, and for good cause shown, Defendants respectfully request that

the Clerk of the Panel grant this unopposed motion and allow Defendants an extension of time of

14 days, up to and including June 3, 2021, to file their response to Plaintiff Laura Revolinsky’s

Motion to Transfer as discussed herein and grant them any further relief that is appropriate.



 Date: May 5, 2021                             /s/ Tarek Ismail
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